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                          Exhibit E
6/30/23,Case
        12:13 PM3:22-cv-00049-NKM-JCH       DocumentMail
                                   illuminatemarketing.org 258-5       Filed
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                                                                                       Fundraising       2 Implementation
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                                                                                           Dena Cruden <dena@illuminatemarketing.org>



  Pipe Hitter Foundation: Fundraising Campaign Implementation
  1 message

  Dena Cruden <dena@pipehitterfoundation.org>                                                                       Tue, May 9, 2023 at 4:38 PM
  To: samwisegamgee12@proton.me

    Hi Jonathan,

    Please find attached the updated agreement per our discussion.

    Best regards,
    Dena

    --
    Dena Cruden
    Executive Director ~ Pipe Hitter Foundation
    https://pipehitterfoundation.org




          PHF & Joshua Mast Agreement.pdf
          134K




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                                            Dena Cruden
                                            05/10/2023




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